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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JENNIFER HARRIS,                         )
                                         )
        Plaintiff,                       )
                                         )
vs.                                      )    Civil Action 4:21-cv-1651
                                         )
FEDEX CORPORATION,                       )
                                         )
        Defendant.                       )


      DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
                        SUMMARY JUDGMENT




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                                       INTRODUCTION

       Jennifer Harris began her employment with FedEx in 2007. As part of her application for

employment, she executed an agreement that included a limitation clause requiring her to file a

lawsuit, such as the instant case, within six (6) months. Ms. Harris filed this action more than one

(1) year following the termination of her employment. Accordingly, her claims are barred by a

contractual limitation period, which is consistent with prior rulings of this Court as to identical

provisions. However, this motion addresses also the merits of Ms. Harris’s claims in the event the

Court departs from precedent and declines to enforce the limitation provision.

       Throughout her tenure, Ms. Harris was promoted into various roles and was promoted to a

District Sales Manager in 2016. In June 2017, Ms. Harris began reporting to Managing Director

Michelle Lamb and was domiciled out of a FedEx office located in Houston, Texas. As FedEx

managers, both Ms. Harris and Ms. Lamb are responsible for managing their team members’

performance issues, up to and including termination. Both Ms. Harris and Ms. Lamb issued

progressive discipline to their employees – Ms. Harris issued progressive discipline to Thomas

Seagraves and Ms. Lamb issued progressive discipline to Ms. Harris and Richard Holley.

Following FedEx procedure, both Ms. Harris and Ms. Lamb submitted Request for Termination

documents to FedEx Human Resources for reviewal and approval, including review for

compliance with FedEx policy against race discrimination. Both Ms. Harris and Ms. Lamb have

testified their actions as FedEx managers of issuing progressive discipline and terminating their

employees were not racially motivated and were because their employees were performing poorly.

Ms. Harris brought this lawsuit after Ms. Lamb terminated her employment.

       Ms. Harris’s discrimination and retaliation claims fail for the simple reason that the adverse

employment actions she relies on, including her termination, were all taken for legitimate, non-

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discriminatory and non-retaliatory reasons related to Ms. Harris’s job performance. Although in

discovery Ms. Harris had advanced several arguments as to why FedEx’s reasons are pretext, each

of those arguments fail, including because even if the facts supporting her pretext arguments are

true, they do not rise to the standard of “substantial” evidence of pretext set by the Fifth Circuit.

That standard requires that a plaintiff establish more than simple factual disputes as to whether

FedEx’s decisions were correct, logical, fair, or reasonable. Instead, a plaintiff’s evidence must

actually permit a reasonable inference of discrimination. Ms. Harris’s evidence falls short of this

standard.

       Accordingly, Ms. Harris cannot present evidence that creates genuine issues of fact

regarding any of her claims against Defendant FedEx Corporate Services, Inc. And, the Court

should enter summary judgment in favor of such defendant under Fed. R. Civ. P. 56 on all claims.

                          NATURE AND STAGE OF THE PROCEEDING

       Ms. Harris’s lawsuit alleges race discrimination and retaliation in violation of 42 U.S.C. §

1981. Discovery is now closed, and this motion for summary judgment has been submitted by the

Court’s June 15, 2022 deadline. See Docket No. 19.

                               ISSUES AND STANDARD OF REVIEW

       FedEx’s Motion for Summary Judgment seeks an order dismissing all of Ms. Harris’s

claims for employment discrimination and retaliation. The standard of appellate review for

granting a motion for summary judgment is de novo. Owens, No. 21-10760, 2022 U.S. App.

LEXIS 13016, at *121 (5th Cir. May 13, 2022).


1
  Owens is published in the federal reporter at 33 F.4th 814. However, as of the date of this brief,
the federal reporter pagination is not yet available in the LEXIS version of the case being used by
FedEx’s undersigned counsel. Accordingly, we use the LEXIS citation and pagination for ease of
reference. A copy of the LEXIS version is included with FedEx’s evidentiary Appendix, filed and
served herewith, at Apx 333.

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                              STATEMENT OF MATERIAL FACTS

        FedEx submits the following undisputed facts for purposes of its Motion for Summary

Judgment (“SOF”).

        1.      Ms. Lamb never uttered a racial slur or ever referred to Harris in a racially

derogatory way. Harris Dep. 140:20-141:1 (FedEx’s Evidentiary Appendix (“Apx”) at 244-245).

        2.      During Ms. Harris’s employment, FedEx maintained policies and procedures

designed to prevent race discrimination, including: EEO policy (Ex. A- Apx 12 2), Internal EEO

policy (Ex. B- Apx 15) Progressive Corrective Action policy (Ex. C- Apx 18), Antiharassment

policy (Ex. D- Apx 23), Code of Conduct, Explore policy (Ex. E- Apx 26), and an Alert Line that

employees can use to submit internal complaints of race discrimination. Ms. Harris was aware of

such policies and procedures. Harris Dep. 113:9-114:5 (Apx 232-233); 114:23-25 (Appx 233);

115:12-16 (Apx 234); 337:18-20 (Apx 288).

Ms. Harris’s Role at FedEx.

        3.      As a District Sales Manager, Ms. Harris supervised a team of Account Executives

whose primary job duty was to find new revenue and maintain existing revenue. As a member of

the Sales team at FedEx, and as a District Sales Manager, this was one of Ms. Harris’s job duties

as well. Harris Dep. 122:7-17 (Apx 237).

        4.      Some of the duties of Ms. Harris’s District Sales Manager position are set forth in

the Sales Manager job description. Harris Dep. 116:18-117:9 (Apx 235-236); Ex. 3 (Apx 125).

Included among the Sales Manager’s job duties are requirements to:




2
 All lettered Exhibits cited in this Memorandum are attached to the Declaration of CoAnn Sims Ressler. These
documents are part of FedEx’s evidentiary Appendix, filed in support of FedEx’s Motion for summary judgment.
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               “Achieves assigned district goals through the effective management of an

                account executive team”.

               “Provides day to day supervision of activities including training, manpower

                planning, motivation, and performance evaluation of Sales Representatives

                and support personnel”.

               “Ensures sale objectives are met within company strategies”.

Id.

       5.       Harris believes the following criteria indicates a successful District Sales Manager:

            [C]onsistency of territory management, performance with maintaining,
            growing and finding new revenue, all of those components aligned with each
            other, and it’s an ongoing evaluation. It just doesn’t stop with those steps.
            You have to go back to see if the existing strategy that you’re utilizing is
            working or if there’s opportunity for change.

Harris Dep. 122:18-123:3 (Apx 237-238).

       6.       Ms. Harris agreed that a team being led by a strong coach would be able to meet

their FedEx objectives and metrics. Harris Dep. 49:25-50:4 (Apx 221-222).

       7.       As a District Sales Manager, Ms. Harris’s performance was measured in part by the

degree to which the Account Executives reporting to her met their revenue goals from year to year.

Id. The revenue goals are adjusted annually, not by an individual Managing Director like Ms.

Lamb, but by the Organization and the goals are based upon a territory’s revenue from last year

with a growth goal added for the current year. Burchett Dep. 25:13-19; 26:1-22 (Apx 314-315).

Accordingly, high performance in one year could have the effect of increasing the following year’s

revenue goals. Id.

       8.       In October 2018, Ms. Harris requested weekly “one-on-ones” with Ms. Lamb.

Harris Dep. 195:11-16 (Apx 250); Ex. 28 (Apx 157). A “one-on-one” is a term used at FedEx for


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a type of meeting in which a manager and a direct report discuss the report’s performance and

methods to improve performance, and Ms. Lamb would often inform Ms. Harris of the topics to

discuss in a calendar invite. See e.g., Harris Dep. 146:19-22 (Apx 246) ; Ex. 6 (noting a summary

of one-on-one meeting and calendar invite providing agenda items) (Apx 147). Ms. Lamb agreed

to do the one-on-ones and met with Ms. Harris regularly for the remainder of Ms. Harris’s

employment. Ex. F- OneNote summary of meetings) (Apx 29); Ex. G (Apx 34) (noting weekly

phone calls and 27 one-on-one meetings in previous 2 years).

March 2019 Meeting Between Ms. Lamb and Ms. Harris

       9.       One of Ms. Lamb’s job duties was to monitor the performance of District Sales

Managers such as Ms. Harris, including the performance of the managers’ teams and the managers’

success in managing those teams. Ex. H (Managing Director Job Description) (Apx 38).

       10.      In early 2019, FedEx rolled out a new program for its Sales Mangers, called

“Coach2Grow.” Coach2Grow was a coaching and performance development program intended

to be used by District Sales Mangers as a tool to improve their teams’ performance. Burchett Dep.

20:9-17; 22:1-11(Apx 313-315); Lamb Dep. 70:20-22(Apx 302). Ms. Lamb met repeatedly with

Ms. Harris about Ms. Harris’s rollout of Coach2Grow to her team. Harris 48:5-8 (Apx 220); Lamb

Dep. 69:23-71:15 (Apx 301-303). During one of the meetings Ms. Harris and Ms. Lamb had about

Coach2Grow, Ms. Lamb suggested to Ms. Harris that she might want to consider reverting to being

an Account Executive, a role in which Ms. Harris had excelled previously. Harris Dep. 241:16-

18 (Apx 273).

June 2019 Letter of Counseling

       11.      Ms. Lamb issued a Letter of Counseling to Ms. Harris on June 26, 2019. Harris

Dep. 199:11-17 (Apx 251); Ex. 31 (Apx 158). Prior to issuing the Letter of Counseling, Ms. Lamb


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submitted it to a FedEx Human Resources Advisor, Kristie Castilow, for review. Castilow Dep.

28:3-10 (Apx 320). The Letter of Counseling states, in part:

             You are being issued a Letter of Counseling (LOC) for poor performance and
             failure to address performance deficiencies on your team. At 91.6%
             (unadjusted) YTD attainment in FY19, your district had the lowest YTD goal
             attainment in [Ms. Lamb’s Region.] 0 out of 8 AE’s at or above plan
             (unadjusted) in Q4FY19. Your District failed to meet plan 4 out of 4 quarters
             in FY19.

             Despite these deficiencies, and our multiple conversations on the subject, you
             have no performance plans in place for any members of your team. It is your
             responsibility as a leader to address on-going performance deficiencies on your
             team.

Harris Dep. Ex. 31 (Apx 158).

       12.      After receiving her Letter of Counseling, Ms. Harris worked with Ms. Lamb to

create a Performance Improvement Plan (“PIP”) to resolve the performance issues outlined in the

Letter of Counseling; the PIP contained seven strategies that Ms. Harris was going to work on.

Harris Dep. 202:14-203:18 (Apx 254-255); Exs. 32 (Apx 159); 33 (Apx 162) (color copy of PIP,

with Ms. Harris’s original suggested categories; Ms. Lamb’s comments/questions in “red” and Ms.

Harris’s responses in “yellow”). Ms. Lamb also worked with Human Resources on finalizing the

PIP. Castilow Dep. 29:3-30:2 (Apx 321-322).

September 2019 Warning Letter

       13.      Ms. Harris and Ms. Lamb met in September 2019 to discuss Harris’s performance

progress in the seven categories of her PIP and Ms. Lamb informed Ms. Harris she was successful

on only one of seven categories. Harris Dep. 204:21-205:11; 206:1-5 (Apx 256-258); Ex. 34 (Apx

164) (bold face is the category and regular type is Lamb’s comments/grade).

       14.      Ms. Lamb issued Ms. Harris a Letter of Warning on September 13, 2019. Harris

Dep. 221:1-4 (Apx 259); Ex. 37 (Apx 165). Prior to issuing the Warning Letter, Ms. Lamb


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submitted the Letter of Warning to Ms. Castilow in HR for review. Castilow Dep. 28:17-29:2

(Apx 320-321). The Letter of Warning states, in part, that Ms. Harris’s district failed to meet plan;

had the lowest pricing activity in the Region; that she “did not meet Action Plan objectives which

you [Ms. Harris] created to improve performance.” Harris Dep. Ex. 37 (Apx 165).

       15.     As a result of the Warning Letter, Ms. Lamb placed Ms. Harris on a second

Performance Improvement Plan. Harris Dep. 221:22-24; 223:7-12 (Apx 259-260); Ex. 38 (Apx

167). Ms. Lamb created the five categories of the second PIP (taken from the first PIP) and went

over them with Ms. Harris. Harris Dep. 91:2-5; 224:20-225:5; 229:24-230:3 (Apx 229; 261-262;

264-265).

       16.     One of the items in the second PIP, as well as the first PIP, related to revenue

attainment (meeting revenue goals). Harris Dep. Ex. 34 (1 st PIP) (Apx 164) and Ex. 38 (2nd PIP)

(Apx 167). In an effort to make the second PIP more feasible for Ms. Harris, Ms. Lamb reduced

Ms. Harris’s goal from 100% of goal to the average attainment of all of the District Sales Managers

reporting to Ms. Lamb. Burchett Dep. 27:1-11; 28:23-29:11 (Apx 316-317); Harris Dep. Ex. 38

(Apx 167). Because the average attainment was less than goal, this resulted in a reduction from

100% to 94.8% in overall revenue attainment and attainment per FedEx service offering ranging

from 85.01% to 98.42%. Id.

Termination

       17.     During the pendency of the two PIPs, Ms. Lamb and Ms. Harris continued to hold

regular “one-on-one” meetings, the purpose of which included coaching Ms. Harris on strategies

she could use to meet the terms of the PIPs. Ex. F - OneNote summary of meetings) (Apx 29);

Ex. G (noting weekly phone calls and 27 one-on-one meetings in previous 2 years) (Apx 34).




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       18.     On December 6, 2019, Ms. Harris and Ms. Lamb met about Ms. Harris’s

performance in the categories on her second PIP. Exhibit I – OneNote summary of 12/6/19

meeting (Apx 40). Ms. Harris failed to satisfy the requirements of her PIP in that she met only

one (1) of five (5) criteria. Id. Ms. Harris does not dispute that she had a conversation with Ms.

Lamb about her second PIP, but she does not recall any of the details of the conversation. Harris

Dep. 231:20-235:11 (Apx 266-270); Ex. I (noting that only 1 out of 5 categories met) (Apx 40).

       19.     Pursuant to FedEx’s procedure for involuntary termination, Ms. Lamb submitted

Request For Termination documentation to Human Resources due to Ms. Harris’s failure to meet

the terms of her second PIP. Lamb Dep. 71:22-72:20 (Apx 303-304); Ex. G (Harris Request For

Termination) (Apx 34). The request for termination states, in part:

       Jennifer Harris’s sales district has missed revenue targets the past 7 out of 8
       quarters. As her manager I have met with her one-on-one, for coaching purposes,
       27 times in the past 24 months. Additionally, she and I had weekly phone calls
       scheduled for coaching and to discuss opportunities in her district. Jennifer has
       been placed on 2 Performance Planners, neither of which were completed to a
       satisfactory level.

       Jennifer Harris’s team is not performing well under her leadership and I see no
       indication that performance will improve in the future. Multiple leadership
       deficiencies have been identified including: failure to follow [Coach2Grow] 2.0
       rollout instructions, lack of awareness of major district decliners, slow district
       response to critical objectives/initiatives, failure to identify and close enough
       business to meet performance expectations.

Ex. G. (Apx 34).

Ms. Harris’s Internal Complaints

       20.     After the March 2019 meeting with Ms. Lamb, Ms. Harris, with the help of her

attorneys, summarized a number of concerns about Ms. Lamb in a March 20, 2019 email to

Michael Clark in Human Resources. Harris Dep. 247:25-249:13 (Apx 274-276); Ex. 46 (Apx




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169). Ms. Harris complained about micromanagement and unreasonable expectations, among

other things. Id. Ms. Harris did not specifically reference race discrimination in that email. Id.

       21.     However, Ms. Harris subsequently made several internal complaints, including

allegations of race discrimination, and including a request to reverse her Warning Letter and her

termination. Harris Dep. 134:12-136:5 (Apx 240-242); Ex. 5 (March 2019 complaint) (Apx 143);

250:15-251:11 (Apx 277-278); Ex. 47 (June 2019 complaint) (Apx 175); 253:14-254:13 (Apx 279-

280); Ex. 55 (December 2019 complaint) (Apx 181); Harris Dep. 221:5-7; 235:24-236:1 (two

Explore submittals to reverse her Warning Letter and her termination) (Apx 259; 270-271).

       22.     Pursuant to its Equal Employment Opportunity policy, FedEx investigated Ms.

Harris’s complaints about Ms. Lamb. Ex. J - Clark June 2019 Report (Apx 42); Ex. K - Clark

September 2019 Report (Apx 51); Ex. L - Clark December 2019 Report (Apx 82). In all three

investigative Reports, Ms. Harris’s allegations were not substantiated. Ex. J - Clark June 2019

Report (Apx 48); Ex. K - Clark September 2019 Report (Apx 56); Ex. L - Clark December 2019

Report (Apx 86).

       23.     In January 2020, after FedEx completed its investigation into Ms. Harris’s internal

complaints, Kristie Castilow (Human Resources) approved Ms. Lamb’s request for termination of

Ms. Harris. Ex. M - January 2022 email string between Ms. Lamb, Ms. Castilow, Ms. Lamb’s

boss (Vice President - Dave Russell) and a FedEx attorney (Kristy Gunn) regarding Ms. Harris’s

termination (Apx 94).

       24.     Ms. Harris’s employment with FedEx was terminated effective January 7, 2020.

Harris Dep. 235:20-23 (Apx 270); Ex. 39 (Apx 168).




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Discipline Issued to Ms. Harris’s White Peer, Richard Holley

       25.     In May 2018 and March 2019, Ms. Lamb issued Richard Holley, Ms. Harris’s

White peer, two Letters of Counseling. Holley Dep. Ex. 2 (Apx 206); Holley Dep. Ex. 7 (Apx

207). Ms. Lamb also issued Mr. Holley a Warning Letter on October 28, 2019 (Holley Dep. Ex.

11 (Apx 210)), placed him a Performance Improvement Plan (Holley Dep. Ex. 15 (Apx 211)) and

submitted a Request For Termination (Ex. N (Apx 97)) when Mr. Holley did not successfully

complete his PIP.

       26.     In her Request For Termination documentation for Mr. Holley, Ms. Lamb informed

Human Resources, in part:

       Richard Holley’s team is not performing under his leadership and I see no
       indication that performance will improve in the future. Multiple leadership
       deficiencies have been identified including: failure to schedule coaching sessions
       with AE’s, a disregard for LPSP, slow district response to critical
       objectives/initiatives, failure to identify and close enough business to meet
       performance expectations.

Ex. N (Apx 97).

       27.     Although Mr. Holley notified FedEx of his intent to retire, he was told by Ms. Lamb

that he was being required to resign his employment/retire in lieu of termination. Holley Dep., at

109:5-113:25, Holley Dep. Ex. 9 (Apx 327-331; 208).

Ms. Harris’s Purported Evidence of Pretext

       28.     As purported evidence of pretext, Ms. Harris contends (a) that the revenue

attainment numbers cited in her Letter of Counseling were incorrect, because FedEx erroneously

included the increased goal associated with customer BJ Services in fiscal year 2019 (Jun 1, 2018

to May 31, 2019) (because revenue attainment goals are based on the prior fiscal year’s

performance) and did not give her revenue credit for customer 4G Dental; (b) she was required to

go through every slide of the Coach2Grow program when her White peers were not required to do

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the same; (c) Ms. Lamb’s alleged aggressiveness with Ms. Harris in emails and in conducting

regular one-on-one meetings; (d) being treated differently for the Pathways event; and (e) Ms.

Harris had White peers who had worse performance than Ms. Harris from time to time during the

course of the pendency of her PIPs. Harris Dep. 65:11-14; 82:15-18, 88:8-25; 90:7-11; 137:2-18;

223:19-224:4, 225:23-226:8, 319:14-320:10, 331:13-332:15, 358:19-362:13 (Apx 224; 226-228;

243; 260-263; 282-285; 292-296).

       29.    However, Ms. Harris agrees for example that even if the BJ Services revenue

figures had not inflated her revenue attainment goals, she still would have failed to meet them.

Harris Dep. 137:2-18 (Apx 243). And, presuming the BJ Services inflated goal impacted two of

her Account Executives, at best only two (2) out of her eight (8) Account Executives would have

been at or above plan. Harris Dep. 200:8-25 (Apx 252).

Ms. Harris Agreed to a 6-Month Limitation Period

       30.    Ms. Harris’s employment was terminated effective January 7, 2020. Harris Dep.

235:20-23 (Apx 270); Ex. 39 (Apx 168). Ms. Harris’s complaint in this action was filed on May

20, 2021 (Docket No. 1), more than 1 year later. However, Ms. Harris was required to bring her

claim within six months of the termination of her employment. Ms. Harris executed an Application

for Employment on April 16, 2007. Declaration of Mac Chonoles (detailing the requirements of

FedEx employees to complete an employment application during the hiring process (Apx 6-7);

Exhibit O – Jennifer Harris Application for Employment (Apx 101). The application contains an

Employment Agreement, which states, in pertinent part:

       (15) This agreement constitutes the entire and final agreement between the parties
       and all other prior agreements, arrangements, or understandings, oral or written, are
       merged into and superseded by the terms of this agreement. I understand that should
       any part of this agreement be held unenforceable, the enforceability of the
       remaining provisions shall not be impaired. To the extent the law allows an
       employee to bring legal action against the Company, I agree to bring that complaint

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        within the time prescribed by law or 6 months from the date of the event forming
        the basis of my lawsuit, whichever expires first.

Id. (Apx 107).

                                     LEGAL ARGUMENT

I.      Standard of Review

        Summary judgment must be granted when the moving party “shows that there are no

genuine disputes as to any material fact, and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). If the non-moving party fails to make a showing sufficient to establish the

existence of an essential element on which that party will bear the burden of proof at trial, summary

judgment for the moving party is proper. See Celetex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

When considering the material facts on the record, mere allegations or denials in the non-movant’s

pleadings will not defeat an otherwise properly-supported motion for summary judgment, nor will

a mere scintilla of evidence be sufficient for the non-moving party’s claim to survive summary

judgment. See Anderson v. Liberty Lobby, Inc. 477 U.S. 242, 251-52 (1986).

II.     Ms. Harris’s Claims are Barred by a Contractual Limitation Period

        Ms. Harris agreed to a six-month limitation period for filing this action but waited more

than 1 year to do so. See Statement of Material Facts (“SOF”) 30. Texas courts have long enforced

contractual limitations periods shortening the period to file suit if they are reasonable. See e.g.,

Basse Truck Line, Inc. v. First State Bank, 949 S.W.2d 17, 21-22 (Tex. App. 1997) (“We hold that

the shortened statutes of limitations contained in Bank One's and Del Rio's depository agreements

are not contrary to public policy.”); Dye v.Associates First Capital Corp. Cafeteria Plan, 2006

U.S. Dist. LEXIS 64561, *10 (E.D. Tex. Sept. 11, 2006); Canfield v. Bank One, Texas, N.A., 51

S.W.3d 828, 836 (Tex. App. 2001); Adevereaux v. Sports and Fitness Clubs of Am., Inc., 2004

U.S. Dist. LEXIS 29733, *2 (N.D. Tex. Feb. 17, 2004). Additionally, Texas courts have found that
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a six-month contractual statute of limitations is reasonable. See e.g., EZ Pawn Corp. v. The

Honorable Fernando Mancias, 934 S.W.2d 87, 88-91 (Tex. 1996) (The Texas Supreme Court

upheld an arbitration agreement in which an employer and employee mutually agreed to initiate

arbitration no later than six months after a cause of action accrued.).

         In fact, in Morgan v. Federal Express Corp., 114 F.Supp.3d 434 (S.D. Tex. 2015), a § 1981

race discrimination case, the United States District Court for the Southern District of Texas,

Houston Division, held that a very similar six-month contractual limitations period to the one at

issue in this case, accepted voluntarily and knowingly by the employee was “clear and

unambiguous” and operated to bar the plaintiff’s claims. And, though § 1981 does not contain a

statute of limitations or exhaustion of remedies requirement (like § 1983 and Title VII claims), the

Morgan Court recognized that other courts have applied contractual provisions to limit the time to

bring an action in Title VII claims (which do have statutory limitations periods and an exhaustion

of remedies requirement). Id. at 444 (citing Johnson v. DaimlerChrysler Corp., No. C.A. 02-

69GMS, 2003 WL 1089394 at *2-3 (D. Del. Mar. 6, 2003)).

         Additionally, in Barfield v. Federal Express Corp., 351 F.Supp.3d 1041, 1045, 1049-1052

(S.D. Tx. 2019), the Southern District of Texas reached exactly the same conclusion in an age

discrimination claim, regarding the same contractual limitation language. Id.

         Because Ms. Harris failed to file her lawsuit within six months of the termination of her

employment, her § 1981 claims are barred.

III.     Legal Framework for Ms. Harris’s Claims.

         Even if the Court does not grant summary judgment based on the applicable limitation

period (Section II, supra), the Court should grant summary judgment for the following reasons on

the merits of Ms. Harris’s claims.


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       A. Race Discrimination

       Ms. Harris asserts a claim of race discrimination in violation 42 U.S.C. § 1981 (“Section

1981”), which prohibits race discrimination in contracts, including in employment. Pltf’s Amd.

Compl., Docket No. 11 at 1. Because Ms. Harris does not purport to have any direct evidence of

discriminatory intent on the part of FedEx (such as use of racial slurs, for example), then as with

claims arising under the Federal Civil Rights Act of 1964, her Section 1981 claim must be decided

under the burden-shifting framework established by the U.S. Supreme Court in McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973). Owens, 2022 U.S. App. LEXIS 13016, at *12

(citing McDonnell Douglas, 411 U.S. at 802-804.)

       Under McDonnell Douglas, Ms. Harris must first make a prima facie case of

discrimination. Owens, supra at *12. To do so, she must prove: (1) that she belongs to a group

protected by Section 1981; (2) she was qualified for her position; (3) she suffered an adverse

employment action; and (4) either that she was replaced by someone outside of her protected

group, or FedEx treated a similarly situated employee, outside of her protected group, more

favorably. Owens, 2022 U.S. App. LEXIS 13016, at *12-*13.

       If Ms. Harris proves such a prima facie case, the burden shifts to FedEx to prove that it had

a “legitimate, nondiscriminatory reason” for the adverse employment actions on which Ms. Harris

relies in her prima facie case. Owens, 2022 U.S. App. LEXIS 13016, at *12-*13. A defendant’s

burden in such a case is one of production, not of persuasion. Reeves v. Sanderson Plumbing

Products, Inc., 530 U.S. 133, 142 (2000). Any proffered reason for the action(s) at issue that is

unrelated to the plaintiff’s race – even an unfair or unreasonable one – suffices to shift the burden

back to the plaintiff. See Owens, 2022 U.S. App. LEXIS 13016, at *14-*15.




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       If FedEx meets that burden, the burden then shifts to Ms. Harris to prove, by substantial

evidence, that FedEx’s proffered legitimate, non-discriminatory reason(s) are pretext. Owens,

2022 U.S. App. LEXIS 13016, at *12-*13. In the summary judgment context, “[e]vidence is

substantial if it is of such quality and weight that reasonable and fair-minded [triers of fact] in the

exercise of impartial judgment might reach different conclusions.” Owens, supra, 2022 U.S. App.

LEXIS 13016, at *15 (internal quotations and citations omitted). Where the defendant’s proffered

reasons for termination of employment were poor performance and lack of effort to change such

poor performance, a plaintiff must show that “reasonable minds could disagree that these were,

indeed, the reasons for her discharge.” Id. at *14-*15.

       In assessing Ms. Harris’s evidence of pretext, if proffered, it is important for the Court to

keep in mind that “[e]mployment laws do not transform federal courts into human resources

managers, so the inquiry is not whether [FedEx] made a wise or even correct decision to terminate

[Plaintiff].” Owens, supra, 2022 U.S. App. LEXIS 13016, at *15 (internal citations and quotations

omitted). “Instead, [t]he ultimate determination, in every case, is whether, viewing all of the

evidence in a light most favorable to the plaintiff, a reasonable factfinder could infer

discrimination. . . Thus, evidence must be of sufficient nature, extent, and quality to permit a jury

to reasonably infer discrimination.” Id.

       B. Retaliation

       Section 1981 does not contain an express anti-retaliation provision, but the Fifth Circuit

has consistently held, in light of the parallelism between Section 1981 and Title VII, that a Section

1981 plaintiff can assert a retaliation claim. See e.g., Willis v. Cleco Corp., 749 F.3d 314, 317 (5th

Cir. 2014) (indicating the elements of a prima facie case of retaliation under Title VII and Section




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1981). Ms. Harris’s retaliation claim is subject to the same burden-shifting framework as her

discrimination claim. Owens, supra, 2022 U.S. App. LEXIS 13016, at *35.

         To prove a prima facie case of retaliation, Ms. Harris must show that “1) she engaged in a

protected activity; 2) she suffered an adverse employment action; and 3) there is a causal

connection between the two.” Owens, supra, 2022 U.S. App. LEXIS 13016, at *35. As protected

activity in support of her retaliation claim, Ms. Harris cites to her internal complaints of

discrimination which she began making after the March 2019 meeting with Ms. Lamb. (SOF 20-

21). Ms. Harris has produced no evidence of a causal connection between these complaints and

any adverse action, save for the fact of the timing itself, which does not necessarily support a prima

facie case of retaliation in and of itself. See Swanson v. GSA, 110 F.3d 1180, 1188 n.3 (5th Cir.

1997).

         Even assuming Ms. Harris can assert a prima facie case of retaliation, she must

nevertheless show that “but for” her internal complaints, she would not have been subjected to the

adverse employment actions at issue. Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 352

(2013); (“[R]etaliation claims require proof that the desire to retaliate was the but-for cause of the

challenged employment action.”); Owens, supra, 2022 U.S. App. LEXIS 13016, at *36. “This

inquiry requires a greater showing than mere causal connection. It requires that the plaintiff show

that protected conduct was the reason for the adverse action.” Id. “In other words, even if a

plaintiff's protected conduct is a substantial element in a defendant's decision to terminate an

employee, no liability for unlawful retaliation arises if the employee would have been terminated

even in the absence of the protected conduct.” Id (internal citations and quotations omitted).




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IV.     Ms. Harris’s Race Discrimination Claim Fails as a Matter of Law.

        For the following reasons, the Court should enter judgment in FedEx’s favor on Ms.

Harris’s Section 1981 claim.

        A.     Ms. Harris Cannot Prove a Prima Facie Case of Discrimination.

        Because a prima facie case of discrimination requires Ms. Harris to prove that she was

qualified for her position, then if Ms. Harris failed to meet performance expectations, she cannot

present a prima facie case. Smith v. ExxonMobil Corp., No. CV H-18-367, 2020 U.S. Dist. LEXIS

170720, 2020 WL 5576695, at *2 (S.D. Tex. Sept. 17, 2020). The Smith court reasoned “[w]hen

an employee fails to meet his employer’s legitimate expectations at the time of his termination, he

cannot establish a prima facie case of discrimination.” Id at *43.

        Ms. Harris was placed on two Performance Improvement Plans setting forth specific

expectations in terms of requirements for improved performance. (SOF 12, 15). In the first PIP,

Ms. Harris proposed the seven categories and then worked with Ms. Lamb to finalize the PIP

categories. (SOF 12). Ms. Harris failed to meet the terms of the PIPs. (SOF 13, 18). Accordingly,

Ms. Harris was not qualified for her position and cannot prove a prima facie case.

        B.     FedEx Had a Legitimate, Non-Discriminatory Reason for Termination.

        Even if Ms. Harris is deemed to have made a prima facie case of discrimination, FedEx

can easily satisfy its burden of producing evidence that it had a legitimate, non-discriminatory




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  In Owens, the Fifth Circuit, in addition to recognizing that Smith is an unpublished case, criticized
the defendant’s reliance on Smith on the ground that the plaintiff in Owens had received
consistently excellent performance reviews. Owens, 2022 U.S. App. LEXIS 13016, at *13 & n.6.
That critique does not apply here, where Harris received multiple written criticisms of her job
performance in the months leading up to her termination. (SOF 11, 13, 14, 17-18). Instead, here,
the inherent logic of the reasoning in Smith (that an employee cannot prove she was qualified for
her position if her performance was demonstrably unsatisfactory) stands.

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reason for terminating Ms. Harris’s employment. A defendant may satisfy its burden of production

in this regard by producing documented critiques of an employee’s performance. Taylor v. Blue

Cross & Blue Shield of Texas, Inc., 55 F. Supp. 2d 604, 613 (N.D. Tex. 1999).

       FedEx’s documentation in this regard is extensive. Ms. Lamb and Ms. Harris met regularly

in one-on-one meetings. (SOF 8, 17). Ms. Lamb issued a Letter of Counseling to Ms. Harris “for

poor performance and failure to address performance deficiencies on your team.” (SOF 11). Ms.

Harris noted that none of her eight Account Executives were at or above plan for the prior fiscal

quarter. Id. Among the other deficiencies noted in the Letter of Counseling was that, despite the

fact that Ms. Harris’s Account Executives had the lowest revenue attainment in Ms. Lamb’s region

at the time, Ms. Harris had no one placed on a Performance Improvement Plan at the time the

Letter of Counseling was issued. Id. Ms. Lamb’s contemporaneous OneNote entry from 11:47

am on 6/20/19 indicates, in part:

       I told Jennifer to use this as an opportunity to drive home the need for change and
       action in her team. We are not in the business as usual position. She agreed and
       referenced that her team is “at the bottom of the list” which is true. She
       explained that she has been direct in 1:1 conversations with her team, but still has
       yet to issue any PIP or documented emails. I asked her why she is delaying
       addressing performance deficits and she stated that she first needed to show them
       “how to be successful” and “what good looks like”. It is her job to address
       performance deficiencies and some should have been addressed long ago.


Ex. P – Summary of 6/20/19 phone conversation prior to Letter of Counseling being issued (Apx

108) (emphasis added).

       Ms. Harris was then herself placed on two successive Performance Improvement Plans

(“PIPs”), setting forth specific criteria for performance improvement, including the requirement to

begin meeting revenue attainment goals and appropriately managing her Account Executives.

(SOF 12-13, 15-16). Again, Ms. Harris helped write the first PIP herself. (SOF 12). Ms. Harris’s


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manager, Ms. Lamb, regularly met with Ms. Harris during the pendency of those PIPs, including

weekly “one-on-one” meetings, to assist Ms. Harris in meeting the expectations set forth in the

PIPs. (SOF 13, 17-18). After Ms. Harris failed to meet such expectations, her employment was

terminated. (SOF 23-24).

       Accordingly, FedEx has satisfied its burden of production of a legitimate, non-

discriminatory reason for its adverse employment actions against Ms. Harris.

       C.         Ms. Harris Cannot Establish Pretext

       Ms. Harris’s purported grounds for pretext each fail, as follows:

                  (1)   Revenue Attainment Goals

       Ms. Harris contends that her revenue attainment goals for FY 2019 were incorrectly

calculated, due to inflated revenue numbers for certain FedEx customers. (SOF 28). However,

she agrees that if FedEx pays the Sales professionals commission on inflated revenue and does not

request the inflated commissions be re-paid to FedEx, then the inflated revenue will impact the

stretch goals for the sales professionals the following year. Harris Dep. 158:23-159:2 (Apx 247-

248). Indeed, Ms. Harris admits that even if the BJ Services revenue figures had not inflated her

revenue attainment goals, she still would have failed to meet them. (SOF 29). And, presuming

the BJ Services inflated goal impacted two of her Account Executives, at best only two (2) out of

her eight (8) Account Executives would have been at or above plan. Id. Consequently, even if the

Court were to accept this argument from Ms. Harris as true, her performance was till

unsatisfactory.

       She also refers, in her deposition testimony, to various errors she believes exists in the

calculation of her revenue goals and performance numbers. See e.g., Harris Dep. 35:4-18 (false

data regarding certain opportunities) (Apx 215); 90:18-20 (falsely inflated numbers involving BJ


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Services) (Apx 228); 307:7-10 (did not want inflated numbers to be considered for Sales awards)

(Apx 281).    However, “[m]ere disputes over an employer’s assessment of an employee’s

performance do not create issues of fact.” Owens, 2022 U.S. App. LEXIS 13016, at *25 (quoting

Salazar v. Lubbock Cnty. Hosp. Dist., 982 F.3d 386, 389 (5th Cir. 2020). Even where a plaintiff’s

factual disputes rise to the level where a reasonable trier of fact could find that an employer’s

proffered justification for termination is false, that is not enough. Owens, 2022 U.S. App. LEXIS

13016, at *30. Rather, “[t]he evidence must permit a reasonable inference that [the defendant’s]

false reason was pretext for the true, discriminatory, reason.” Id. Ms. Harris has no evidence

whatsoever that her race played a role in any of her discipline, other than the fact that she is

African-American. Harris Dep. 64:16-65:4; 223:19-224:4; 236:2-9; 240:5-8 (Apx 223-224; 260-

261; 271-272). Accordingly, even if “a juror could reasonably conclude that [FedEx] wanted

[Plaintiff] gone for some reason other than her performance, but an ‘inference of discrimination

[would] be weak or nonexistant.’” Owens, 2022 U.S. App. LEXIS 13016, at *32, quoting Fisher

v. Vassar Coll., 114 F.3d 1332, 1338 (2d Cir. 1997).

               (2)    Issues with Coach2Grow;

       Ms. Harris asserts that Ms. Lamb’s requirement that she go over every Coach2Grow

PowerPoint slide with her team members is evidence of pretext because Ms. Harris alleges

(without support or foundation) that her White peers were not required to go over every slide with

their respective team members. (SOF 28; Harris Dep. 331:22-332:7 (Apx 284-285)). Even if this

were true, being required to re-engage her team members about a new coaching and performance

development program is not an adverse employment action. See Thompson v. City of Waco, 764

F.3d 500, 503 (5th Cir. 2014) (“For Title VII and § 1981 discrimination claims, we have held that

adverse employment actions consist of ‘ultimate employment decisions’ such as hiring, firing,


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demoting, promoting, granting leave, and compensating”). While Ms. Lamb was not pleased with

Ms. Harris’s initial abbreviated rollout of Coach2Grow with her team, once Ms. Harris confirmed

that she had gone over the materials with each of her employees, Ms. Lamb was satisfied that Ms.

Harris had adequately rolled out Coach2Grow as required. Lamb Dep. 69:19-71:19 (Apx 301-

303). Accordingly, the issues with the rollout of Coach2Grow do not rise to the level of

“substantial” evidence of pretext. Ms. Lamb simply wanted to verify that Ms. Harris had explained

the program in detail to her team. See Owens, 2022 U.S. App. LEXIS 13016, at *30.

              (3)     Pathways Event in Memphis

       Ms. Harris alleges that she was not permitted to attend a “Pathways” event (a FedEx-

sponsored career development program for its sales professionals) in Memphis, Tennessee while

her White peers were permitted to attend a Pathways event in Dallas, Texas. (SOF 28; Harris Dep.

39:12-20 (Apx 216)). First, Ms. Harris was originally given permission to travel and attend the

Memphis Pathways event, but her permission was rescinded based on cost control issues. Harris

Dep. 39:8-24; 40:11-17; 319:14-21 (Apx 216; 217; 282). Second, Ms. Harris did attend the

Memphis Pathways event, but FedEx did not reimburse her the cost of her travel. Harris Dep.

39:25-40:3; 43:3-7 (Apx 216-218). Admittedly, while Ms. Harris originally had to take vacation

days to attend the Pathways event, she was reimbursed for these vacation days. Harris Dep. 43:8-

44:7 (Apx 218-219). While Ms. Harris did not attend the Dallas Pathways event with her peers,

she never asked to attend the event. Harris Dep. 44:23-45:1 (Apx 219-220). Instead, she went and

attended the Memphis Pathways. Harris Dep. 321:11-18 (Apx 283). Accordingly, Ms. Harris’s

non-participation in the Memphis “Pathways” event does not rise to the level of substantial

evidence of pretext. See Owens, 2022 U.S. App. LEXIS 13016, at *30.




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                 (4)     Ms. Lamb’s Alleged Aggressiveness with Ms. Harris in Emails and in
                         Conducting Regular One-On-One Meetings.

          Ms. Harris asserts that Ms. Lamb was “aggressive” with her in emails and in conducting

regular meetings. (SOF 28). However, it was Ms. Harris who requested these meetings, which

were for the purpose of helping her meet performance expectations. (SOF 8). Additionally, the

documents that are in the record demonstrate nothing other than that Ms. Lamb discussed

performance expectations and conducted coaching in a professional manner. See e.g., SOF 8, 11-

18. Moreover, Ms. Harris concedes that a manager can highlight issues or “areas of opportunity”

in one-one-one meetings and in emails. Harris Dep. 66:9-20 (Apx 225). Accordingly, this does

not constitute “substantial” evidence of pretext. See Owens, supra, 2022 U.S. App. LEXIS 13016,

at *15.

                 (5)     Ms. Harris’s Comparison with White Peers

          In her deposition, Ms. Harris repeatedly referenced the allegation that her performance was

superior to certain White peers as a basis for her allegation of pretext and discrimination. See e.g.,

Harris Dep. 64:23-65:4, 90:7-11, 223:19-224:4, 226:5-8 (Apx 223-224; 228; 260-261; 263). Ms.

Harris even cited to some documents that showed, from time to time, that there were White peers

who were ranked lower than her in a particular metric at a specific date in time. Harris Dep.

358:19-362:13 (Apx 292-296). Ms. Harris does not provide evidence that any White peers had

sustained performance issues like her, and Mr. Holley. Nor does Ms. Harris provide evidence that

any other White peers’ performance warranted that peer (other than Mr. Holley) being issued a

Letter of Counseling, a Warning Letter, or being placed on a Performance Improvement Plan.

Indeed, such sporadic references to periodic performance problems experienced by White peers

do not rise to the level of “substantial” evidence of pretext. See, e.g., Owens, supra, 2022 U.S.

App. LEXIS 13016, at *16-*18. Additionally, Ms. Harris’s comparator evidence is negated by

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the fact that the only true comparator, Richard Holley, a White male, was asked to resign or retire

in lieu of termination, under similar circumstances and based on the same progressive discipline.

(SOF 25-27).

V.     Ms. Harris’s Retaliation Claim Must Be Dismissed.

       Although Ms. Harris made several internal complaints of discrimination and was subjected

to adverse employment actions in the form of performance-related discipline and ultimately

termination after doing so, Ms. Harris cannot, as required, establish that her internal complaint(s)

were “the” reason why she was subjected to adverse actions. Owens, supra, 2022 U.S. App. LEXIS

13016, at *36. By contrast, as is discussed in Section IV, B supra, FedEx terminated Ms. Harris’s

employment after extensive documentation of performance deficiencies, including a Letter of

Counseling, a Performance Improvement Plan, followed by a Letter of Warning, and another

Performance Improvement Plan. (SOF 11-16, 18, 23-24). Although, as is discussed in Section

IV, C, supra, Ms. Harris has attempted to establish that these reasons were concocted and

pretextual, her efforts to do so fall far short of the “but for” causation standard she must meet to

prove her retaliation claim. Owens, supra, 2022 U.S. App. LEXIS 13016, at *36. Her retaliation

claim fails as a matter of law.

                                         CONCLUSION

       For the reasons set forth above, FedEx respectfully requests that this Court enter judgment

in FedEx’s favor on all claims in this action.




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                               CERTIFICATE OF SERVICE


       I hereby certify that the foregoing document was filed with the Clerk of the Court using

the CM/ECF system, which will send a copy to all attorneys of record.


                                            s/Barak J. Babcock




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